          Case 1:17-cv-01167-JEB Document 52 Filed 02/05/18 Page 1 of 2
 


                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CABLE NEWS NETWORK, INC.,

               Plaintiff,

v.                                                Case No. 1:17-cv-01167-JEB

FEDERAL BUREAU OF INVESTIGATION,

               Defendant.


        NOTICE OF APPEAL BY PLAINTIFF CABLE NEWS NETWORK, INC.

       Pursuant to Rule 4(a) of the Federal Rules of Appellate Procedure, Plaintiff Cable News

Network, Inc. (“CNN”), by and through its undersigned counsel, gives notice that it hereby

appeals to the U.S. Court of Appeals for the District of Columbia Circuit from the Order of this

Court entered on February 2, 2018, granting Defendant’s Motion for Partial Summary Judgment

and denying CNN’s Cross-Motion for Summary Judgment (ECF No. 48).


     Dated: February 5, 2018              Respectfully submitted,

                                          BALLARD SPAHR LLP

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         Case 1:17-cv-01167-JEB Document 52 Filed 02/05/18 Page 2 of 2
 


                                CERTIFICATE OF SERVICE

       I hereby certify that, on this date, I caused Plaintiff’s Notice of Appeal to be filed and

served electronically via the Court’s ECF System upon counsel of record.


Dated: February 5, 2018                       /s/ Charles D. Tobin
                                              Charles D. Tobin




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